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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


Idalia Valcarcel, individually and on behalf of                     1:21-cv-07821
all others similarly situated,
                                    Plaintiff,

                      - against -                              Class Action Complaint

Ahold U.S.A., Inc.,
                                                                Jury Trial Demanded
                                    Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.     Ahold U.S.A., Inc. (“defendant”) manufactures, labels, markets, and sells cinnamon

flavored crackers purporting to be made predominantly with whole grain graham flour under its

Stop and Shop brand (“Product”).
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I.        REPRESENTATIONS OF WHOLE GRAIN GRAHAM FLOUR

          2.     The Product’s complete name is read as “Naturally Flavored Cinnamon Graham

Crackers,” pictured on the front label, with images of dark hued crackers, and a seal promising a

“100% Quality & Trust Guarantee.”

          3.     “GRAHAM” is the biggest word on the front label and written in all capital letters.

          4.     The Product’s name, and the emphasis on the word “Graham,” gives reasonable

consumers the impression that graham flour – a type of whole grain flour – is the primary and

predominant flour ingredient used.

          5.     Dictionaries confirm what reasonable consumers expect when it comes to a “graham

cracker,” defining it as “a slightly sweet cracker made of whole wheat flour” and “a semisweet

cracker, usually rectangular in shape, made chiefly of whole-wheat flour.”1

          6.     This whole grain content distinguishes a graham cracker from other crackers and

cookies made with mostly enriched flour, also referred to “white flour” or “refined flour.”

          7.     In whole grain flour, all three parts of the grain are used as opposed to enriched flour,

which only uses the endosperm.

          8.     Because the “Graham” in “Graham Crackers” admittedly refers to whole grain flour,

reasonable consumers expect a food identified by such a name to have more whole grain flour than

if it was merely labeled, “Crackers.”

          9.     However, the ingredient list reveals “Enriched Wheat Flour” is the predominant

flour, indicated by its listing ahead of “Graham Flour (Whole Grain Wheat Flour).”




1
    https://www.dictionary.com/browse/graham-cracker
                                                       2
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                Ingredients: Enriched Wheat Flour (Wheat Flour, Niacin, Reduced

                Iron, Thiamin Mononitrate, Riboflavin, Folic Acid), Graham Flour

                (Whole Grain Wheat Flour), Sugar, High Oleic Canola And/or Soybean

                Oil With TBHQ And Citric Acid to Preserve Freshness, Contains 2%

                Or Less Of: Molasses, Honey, Leavening (Baking Soda, Calcium

                Phosphate), Salt, Dextrose, Cinnamon, Soy Lecithin, Natural

                Cinnamon Flavor, Sodium Sulfite.


II.   REASONS CONSUMERS VALUE WHOLE GRAINS

        10.     Surveys have confirmed that consumers increasingly seek products made with whole

grains because they contain more fiber than refined white flour.2

        11.     Specifically, these findings indicate that:

        •     At least half of consumers expect that for every gram of whole grain per serving, there

              will be at least a gram of fiber;

        •     Two‐thirds of consumers (67%) agree that whole grain foods are high in fiber;

        •     Identifying a product with the name of a whole grain flour is equivalent to a


2
  FDA-2006-D-0298-0016, Exhibit 1a - "A Survey of Consumers Whole Grain & Fiber Consumption Behaviors, and
the Perception of Whole Grain Foods as a Source of Dietary Fiber" - [Kellogg Company - Comment] (July 1, 2010);
Docket ID: FDA-2006-D-0298, Guidance for Industry and FDA Staff: Whole Grains Label Statements.
                                                      3
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              representation that the product will predominantly be made with whole grains; and

        •     75% of consumers who observe claims that a product is made with, or contains whole

              grain flour, will expect the food to be at least a good source of fiber.


        12.     The 2015 Dietary Guidelines for Americans recommended that at least half of the

grains in a healthy diet should be whole grains.3

        13.     The FDA cautioned manufacturers against misleading consumers as to whole grain

content of foods:4

                7. Question: Does the term “whole grain” mean the same as
                “100 percent whole grain”? If a product is labeled as “whole
                wheat bagel” or “whole wheat pizza,” how much whole wheat
                should it contain? What is graham flour?

                Answer: FDA has not defined any claims concerning the grain
                content of foods. However, the agency has established
                standards of identity for various types of cereal flours and
                related products in 21 CFR Part 137, including a standard of
                identity for “whole wheat flour” (§ 137.200) and “whole
                durum flour” (§ 137.225). Graham flour is an alternative name
                for whole wheat flour (§ 137.200).

                Depending on the context in which a “whole grain” statement
                appears on the label, it could be construed as meaning that the
                product is “100 percent whole grain.” We recommend that
                products labeled with “100 percent whole grain” not contain
                grain ingredients other than those the agency considers to be
                whole grains.

        14.     The FDA has warned companies against making misleading whole grain

representations in a product name – “HiHo Deluxe WHOLE WHEAT Crackers” and “Krispy




3
  U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., Dietary Guidelines for Americans
2015–2020 (8th ed. 2015), available at http://goo.gl/qnyfLi (click “A Closer Look Inside Healthy Eating Patterns”
under “Chapter 1. Key Elements of Healthy Eating Patterns”).
4
  Draft Guidance for Industry and FDA Staff: Whole Grains Label Statements," Docket No. 2006D-0066, ("Whole
Grain Guidance").
                                                       4
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WHOLE WHEAT Saltine Crackers” – where the products were predominantly white flour.5

        15.    The Federal Trade Commission (“FTC”) recognized that “[M]any reasonable

consumers will likely understand ‘whole grain’ [claims] to mean that all, or virtually all, of the

food product is whole grain, or that all of the grain ingredients in the product are whole grains.6

        16.    By highlighting the Product’s whole grain ingredient, “GRAHAM,” as part of the

product name, larger than everything else on the label, Defendant is highlighting the presence of

nutrients associated with whole grains – fiber.7

        17.    Plaintiff and consumers expect a product represented with such “whole grain” claims

to provide at least 10 percent (“good source”) of the Reference Daily Intake (“RDI”) or the Daily

Reference Value (“DRV”) of fiber.8

        18.    The amount of whole grain wheat flour in the Product is approximately twenty-five

percent of the amount of refined flour.

        19.    This is based on the Nutrition Facts, which reveals the Product is not a good source

of fiber, as it indicates only one gram of fiber (4%) per serving.




5
  CSPI Petition to Prohibit Misbranding of Whole Wheat Products and to Promulgate Food Labeling Regulations
Concerning Products Made with Whole Wheat, Docket No. 93P-0227 (Jun. 25, 1993).
6
  In the Matter of Draft Guidance for Industry and FDA Staff: Whole Grains Label Statements, Docket No. 2006-0066
Comments of the Staff of the Bureau of Consumer Protection, the Bureau of Economics, and the Office of Policy
Planning of the Federal Trade Commission April 18, 2006
7
  21 U.S.C. § 343(r)(1); 21 C.F.R. § 101.65.
8
  21 C.F.R. § 101.54(b)-(c).
                                                       5
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III. THE SMALL AMOUNT OF MOLASSES AND HONEY DARKENS THE
     PRODUCT’S COLOR

       20.   Consumers associate darker hues in grain products with a significant amount of

whole grain ingredients.

       21.   Though the Product contains honey and molasses purportedly for their sweetening

effect, the honey imparts a darker color.

       22.   The Product’s color would be significantly lighter if based solely on the ratio of

refined white flour to whole grain graham flour.

       23.   According to expert W.K. Nip, the presence of “mostly reducing sugars in its sugar

profile” causes molasses and “honey [to] brown[s] easily during baking, adding a natural dark



                                                   6
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color to baked products such as bread, crackers, and other products.9

           24.    The use of a small amount of honey and molasses contributes to consumers getting

the misleading impression the Product contains more whole grain graham flour than it does.

IV.        DEFENDANT’S REPRESENTATIONS MISLEAD CONSUMERS

           25.    The Food, Drug, and Cosmetic Act (“FDCA”) provides that a food is misbranded if

“its labeling is false or misleading in any particular.” 21 U.S.C. § 343(a)(1).

           26.    Product names can be misleading when they suggest one or more, but not all, of the

key ingredients, like whole grain graham flour, yet fail to disclose other more predominant

ingredients like refined flour.

                    The labeling of a food which contains two or more
                    ingredients may be misleading by reason (among other
                    reasons) of the designation of such food in such labeling by
                    a name which includes or suggests the name of one or more
                    but not all such ingredients, even though the names of all
                    such ingredients are stated elsewhere in the labeling.

                    21 C.F.R. § 101.18(b).

           27.    Federal and state regulations require that a product’s name disclose the percentage

of whole grain graham flour because this is a characterizing ingredient. 21 C.F.R. § 102.5(b).

           28.    Whole grain graham flour is a characterizing ingredient because its proportion has a

material bearing on price and consumer acceptance of the Product.

           29.    Whole grain graham flour is also a characterizing ingredient because the labeling

creates an erroneous impression than it is present in amounts greater than it is.

           30.    Crackers that have graham flour as their predominant flour exist in the marketplace

and are not technologically or otherwise unfeasible to produce.



9
    W.K. Nip et al., eds. Bakery products: science and technology, Ch. 7, “Sweeteners,” John Wiley & Sons, 2006.
                                                          7
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V.    CONCLUSION

       31.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of the Product, relative to itself and other

comparable products or alternatives.

       32.   The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

       33.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       34.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.


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        35.   The Product is sold for a price premium compared to other similar products, no less

than $2.99 per 14.4 oz box a higher price than it would otherwise be sold for, absent the misleading

representations and omissions.

                                            Jurisdiction and Venue

        36.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

        37.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        38.   Plaintiff Idalia Valcarcel is a citizen of New York.

        39.   Defendant Ahold U.S.A., Inc. is a Maryland corporation with a principal place of

business in Landover, Prince Georges County, Maryland.

        40.   Plaintiff and defendant are citizens of different states.

        41.   Venue is in this district because plaintiff resides in this district and the actions giving

rise to the claims occurred within this district.

        42.   Venue is in this division because plaintiff resides in Bronx County, which is where

the events giving rise to the present claims occurred.

                                                Parties

        43.   Plaintiff Idalia Valcarcel is a citizen of Bronx, Bronx County, New York.

        44.   Defendant Ahold U.S.A., Inc., is a Maryland corporation with a principal place of

business in Landover, Maryland, Prince Georges County.

        45.   Defendant is a United States subsidiary of the Dutch supermarket conglomerate

Koninklijke Ahold Delhaize N.V., commonly known as Ahold Delhaize.

        46.   Within the U.S., Defendant operates the Stop and Shop chain of supermarkets in the

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northeastern United States.

       47.     Defendant operates over 400 Stop and Shop locations in states including New York,

New Jersey, Massachusetts, and Connecticut.

       48.     Stop and Shop also sells its products through its website and Peapod.com, its grocery

delivery service.

       49.     Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, at defendant’s physical or online store, 961 E 174th St Bronx NY

10460-5060, between January 2021 and February 2021, among other times.

       50.     Plaintiff bought the Product because she expected it would contain a predominant

amount of whole grain graham flour.

       51.     Plaintiff did not expect the Product to contain a significant percent less of whole

grain graham flour.

       52.     Plaintiff knew that Defendant was a supermarket with an established reputation for

quality, as promised through the front label seal, which would live up to its word on the Product’s

composition.

       53.     Plaintiff bought the Product at or exceeding the above-referenced price.

       54.     Plaintiff relied on the representations identified here.

       55.     Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

       56.     Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the statements and claims made by Defendant.

       57.     The Product was worth less than what Plaintiff paid and she would not have paid as

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much absent Defendant's false and misleading statements and omissions.

       58.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                         Class Allegations

       59.    Plaintiff seeks certification under Fed. R. Civ. P. 23(b)(2) and (b)(3) of the following

classes:

               New York Class: All persons in the State of New York who
               purchased the Product during the statutes of limitations for
               each cause of action alleged.

       60.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       61.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       62.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       63.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       64.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       65.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       66.    Plaintiff seeks class-wide injunctive relief because the practices continue.




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                    New York General Business Law (“GBL”) §§ 349 & 350

                                   (Consumer Protection Statute)

       67.    Plaintiff incorporates by reference all preceding paragraphs.

       68.    Plaintiff and class members desired to purchase a product that contained a

predominant amount of whole grain flour relative to enriched flour.

       69.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       70.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       71.    Plaintiff relied on the representations.

       72.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                   Breaches of Express Warranty,
                              Implied Warranty of Merchantability and
                        Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       73.    The Product was manufactured, labeled, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it contained a predominant amount of

whole grain flour relative to enriched flour.

       74.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       75.    This duty is based on Defendant’s outsized role in the market for this type of Product.

       76.    Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       77.    Defendant received notice and should have been aware of these issues due to

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complaints by regulators, competitors, and consumers, to its main offices.

       78.    The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.

       79.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       80.    Defendant had a duty to truthfully represent the Product, which it breached.

       81.    This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area, as custodians and owners of the Stop and Shop Supermarket

brand, known for high quality foods for over a hundred years.

       82.    The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a nationally recognized and trusted brand.

       83.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       84.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

       85.    Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained a predominant amount of whole grain flour relative to enriched flour




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       86.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       87.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 18, 2021
                                                           Respectfully submitted,

                                                           Sheehan & Associates, P.C.
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